                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION


UNITED STATES OF AMERICA                       )
                                               )
v.                                             )          No. 3:12-00044
                                               )          JUDGE CAMPBELL
LACY BRIAN WHITFIELD                           )

                                            ORDER

         Pending before the Court is the Defendant’s Motion To Enlarge Time For Filing Motions

In Limine (Docket No. 97). Through the Motion, the Defendant seeks an extension of time, until

October 20, 2014, in which to file motions in limine in this case. The Motion is GRANTED.

         It is so ORDERED.



                                                   TODD J. CAMPBELL
                                                   UNITED STATES DISTRICT JUDGE




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